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 6                                  UNITED STATES DISTRICT COURT

 7                              FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,                           Case No. 1: 13-cr-00362-AWI-BAM (001)
 9
                   Plaintiff,                            ORDER STAYING RELEASE
10
            v.
11
     GAYLENE LYNNETTE BOLANOS,
12
                   Defendant.
13
14
15
            The above named defendant was Ordered Released with conditions by Judge Jonathan B.
16
     Conklin on October 3, 2013. This Court ORDERS defendant Gaylene Lynnette Bolanos’ release
17
     DELAYED UNTIL, TUESDAY, OCTOBER 8, 2013 at 9:00 A.M. from Fresno County jail.
18
            FURTHER ORDERED that defendant shall report to Pretrial Service Office at the Fresno U.S.
19
     District Courthouse upon her release.
20
21
     IT IS SO ORDERED.
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23      Dated:    October 7, 2013                        /s/ Barbara A. McAuliffe           _
                                                   UNITED STATES MAGISTRATE JUDGE
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